                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

LYNDA SEATON and                 )
WES SEATON                       )
                                 )
               Plaintiffs,       )                      No. 2:17-CV-04100-NKL
                                 )
     vs.                         )
                                 )
MODINE MANUFACTURING COMPANY, )
UTC AEROSPACE SYSTEMS, INC., and )
JOHN BLATCHFORD                  )
                                 )
               Defendants.       )

   CORPORATE DISCLOSURE STATEMENT AND CERTIFICATE OF INTEREST

        Pursuant to Local Rule 7.1 and Federal Rule of Civil Procedure 7.1, Defendant Hamilton

Sundstrand Corporation (“Hamilton Sundstrand”), incorrectly named as UTC Aerospace

Systems, Inc., and joined by the Defendant UTC Aerospace Systems, Inc., a non-legal entity,

provide the following Corporate Disclosure Statement and Certificate of Interest:

        1.       United Technologies Corporation, a Delaware corporation, is publicly traded and

owns 10% or more of Hamilton Sundstrand’s stock.

        2.       No other parent, affiliate, or subsidiary of Hamilton Sundstrand has issued shares

to the public.

        3.       Defendant UTC Aerospace Systems, Inc. is a non-legal entity, and therefore has

no applicable corporate disclosures to make herein.




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                                                      Respectfully submitted,

                                                      STINSON LEONARD STREET LLP

                                                      /s/ Jere D. Sellers
                                                      Jere D. Sellers        MO# 44505
                                                      Brett A. Shanks       MO# 67749
                                                      1201 Walnut Street, Suite 2900
                                                      Kansas City, Missouri 64106
                                                      Tel.: 816-842-8600
                                                      Fax: 816-412-1235
                                                      jere.sellers@stinson.com
                                                      brett.shanks@stinson.com

                                                      Attorneys for Defendant Hamilton
                                                      Sundstrand Corporation (incorrectly named
                                                      as “UTC Aerospace Systems, Inc.”) and/or
                                                      UTC Aerospace Systems, Inc.

                                      Certificate of Service

               I hereby certify that on June 14, 2017, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system and served a copy via electronic mail on the following
counsel of record:

       Steve Garner
       Chandler Gregg
       Grant Rahmeyer
       415 E. Chestnut Expressway
       Springfield, Missouri 65802
       sgarner@stronglaw.com
       chandler@stronglaw.com
       grahmeyer@stronglaw.com
       Attorneys for Plaintiffs



                                                      /s/ Jere D. Sellers
                                                      Attorney for Defendant Hamilton
                                                      Sundstrand Corporation (“incorrectly named
                                                      as UTC Aerospace Systems, Inc.”) and/or
                                                      UTC Aerospace Systems, Inc.




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